Case 23-53167-bem           Doc 7     Filed 04/18/23 Entered 04/18/23 16:15:39                   Desc Main
                                      Document     Page 1 of 42


                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

 IN RE:                                                     CHAPTER 7

 BAM TECH SOLUTIONS, INC.                                   CASE NO. 23-53167-bem
 dba Bam Tech Solutions, LLC
                                                            JUDGE BARBARA ELLIS-MONRO
             DEBTOR.
 U.S. BANK NATIONAL ASSOCIATION AS
 INDENTURED TRUSTEE FOR ANGEL OAK                           CONTESTED MATTER
 MORTGAGE TRUST I, LLC 2018-PB1
             MOVANT,
 V.

 BAM TECH SOLUTIONS, INC.
            DEBTOR,

 S. GREGORY HAYS
             TRUSTEE,

                  RESPONDENTS.

                                     NOTICE OF HEARING
        PLEASE TAKE NOTICE that U.S. BANK NATIONAL ASSOCIATION AS
INDENTURED TRUSTEE FOR ANGEL OAK MORTGAGE TRUST I, LLC 2018-PB1 has filed a
Motion for Relief from Automatic Stay and related papers with the Court seeking an order lifting the
automatic stay to allow it to proceed under the Note and Deed to Secure Debt to foreclose on the real
property held as collateral.

        PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic hearing for
announcements on the Motion for Relief from Automatic Stay at the following number: Toll Free
Number: 833-568-8864, Meeting ID: 160 862 0914 at 10:15 A.M. on MAY 24, 2023 in Courtroom
1402, at the Richard B. Russell Federal Building and United States Courthouse, 75 Ted Turner Drive,
SW, Atlanta, GA 30303.

        Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined by the
Court in connection with this initial telephonic hearing. Please review the “Hearing Information” tab on
the judge’s webpage, which can be found under the “Dial-in and Virtual Bankruptcy Hearing
Information” link at the top of the webpage for this Court, www.ganb.uscourts.gov for more information.

        Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one.) If you do not want the court to grant the relief
sought in these pleadings or if you want the court to consider your views, then you and/or your attorney
must attend the hearing. You may also file a written response to the pleading with the Clerk at the address
stated below, but you are not required to do so. If you file a written response, you must attach a certificate
Case 23-53167-bem           Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39                  Desc Main
                                     Document     Page 2 of 42


stating when, how and on whom (including addresses) you served the response. Mail or deliver your
response so that it is received by the Clerk at least two business days before the hearing. The address of
the Clerk is: United States Bankruptcy Court, 75 Ted Turner Drive, SW, Room 1340, Atlanta GA
30303.

        If a hearing on the Motion for Relief from the Automatic Stay (the “Motion”) cannot be held
within thirty (30) days, Movant waives the requirement for holding a preliminary hearing within thirty
(30) days of filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.

Dated: April 18, 2023
                                                          Respectfully Submitted,

                                                          /s/ Laura A. Grifka____________
                                                          Laura A. Grifka (GBN 312055)
                                                          MCMICHAEL TAYLOR GRAY, LLC
                                                          Attorney for Movant
                                                          3550 Engineering Drive, Suite 260
                                                          Peachtree Corners, GA 30092
                                                          Telephone: (404) 474-7149
                                                          Facsimile: (404) 745-8121
                                                          E-mail: lgrifka@mtglaw.com
                                                          MTG File No.: 23-000561-01
Case 23-53167-bem           Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39                 Desc Main
                                     Document     Page 3 of 42


                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

 IN RE:                                                   CHAPTER 7

 BAM TECH SOLUTIONS, INC.                                 CASE NO. 23-53167-bem
 dba Bam Tech Solutions, LLC
                                                          JUDGE BARBARA ELLIS-MONRO
             DEBTOR.
 U.S. BANK NATIONAL ASSOCIATION AS
 INDENTURED TRUSTEE FOR ANGEL OAK                         CONTESTED MATTER
 MORTGAGE TRUST I, LLC 2018-PB1
             MOVANT,
 V.

 BAM TECH SOLUTIONS, INC.
            DEBTOR,

 S. GREGORY HAYS
             TRUSTEE,

                  RESPONDENTS.

                        MOTION FOR RELIEF FROM AUTOMATIC STAY

        COMES NOW U.S. BANK NATIONAL ASSOCIATION AS INDENTURED TRUSTEE FOR
ANGEL OAK MORTGAGE TRUST I, LLC 2018-PB 1 (“Movant”), a secured creditor in the above-
captioned case, by and through counsel, and moves this Court to enter an order granting its request for
relief from the automatic stay imposed by 11 U.S.C. § 362 and respectfully shows this Court as follows:
                                                    1.
        On April 3, 2023, Debtor filed a Ch. 7 petition with the Bankruptcy Court for the Northern
District of Georgia.
                                                    2.
        Movant is the holder of an Interest Only Balloon Promissory Note in the original principal
amount of $478,500.00, dated July 27, 2018, and signed by Bam Tech Solutions, Inc. by its managing
member, Janice Quinn, (hereinafter “Note”). Said Note is secured by a perfected Deed to Secure Debt
recorded with the Dekalb County, Georgia Clerk of Superior Court in Book 27072 at Page 520 on August
7, 2018 (hereinafter “Security Deed”), which describes real property owned by the Debtor known as: 87
Mayson Ave. NE, Atlanta, GA 303307 (hereinafter “Property”). A copy of the Note, Security Deed,
Allonge(s), and Assignment(s) of Mortgage, are attached hereto as Exhibit A respectively.
Case 23-53167-bem           Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39                   Desc Main
                                     Document     Page 4 of 42


                                                     3.
        The Note is either made payable to Movant or has been duly indorsed. Movant, directly or
through an agent, has possession of the Note. Movant is the original mortgagee or the beneficiary or the
assignee of the Mortgage.
                                                     4.
        The payoff, exclusive of legal fees and expenses incurred in connection with the instant motion,
due and owing to the Movant as of April 7, 2023, is approximately $807,819.28. Upon information and
belief, the fair market value of the Property is approximately $788,000.00 (pursuant to Zillow and other
on-line real property valuation apps). The Debtor has the Property listed for sale for approximately
$800,000.00
                                                     5.
        Cause exists for relief from the automatic stay. The Note and Security Deed matured on August 1,
2019 and the loan was not paid in full as required. Payments are not being made to the Movant and, as
such, Movant’s interests are not adequately protected. Additionally, there is no equity in the Property and
such property is not necessary for an effective reorganization.
                                                     6.
        In the event the automatic stay in this case is modified and/or this case is dismissed and a
 foreclosure action is commenced on the mortgaged property, the foreclosure will be conducted in the
 name of Movant or Movant’s successor or assignee.
        WHEREFORE, Movant prays the Court as follows:
        1.      Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its security
interest in the Property including but not limited to any non-bankruptcy remedies to foreclose and obtain
possession;
        2.      Modify Rule 4001(a)(3) of the Fed. R. Bankr. P. so that it is not applicable in this case to
allow Movant to immediately enforce and implement this order granting relief from the automatic stay;
        3.      Grant Movant such other and further relief as the Court deems just and proper.

                                                          Respectfully Submitted,
                                                          /s/ Laura A. Grifka____________
                                                          Laura A. Grifka (GBN 312055)
                                                          MCMICHAEL TAYLOR GRAY, LLC
                                                          Attorney for Movant
                                                          3550 Engineering Drive, Suite 260
                                                          Peachtree Corners, GA 30092
                                                          Telephone: (404) 474-7149
                                                          Facsimile: (404) 745-8121
                                                          E-mail: lgrifka@mtglaw.com
                                                          MTG File No.: 23-000561-01
Case 23-53167-bem            Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39                   Desc Main
                                      Document     Page 5 of 42


                                      CERTIFICATE OF SERVICE

        I hereby certify that on the date set forth below, I electronically filed the foregoing Motion for
Relief from Automatic Stay and Notice of Hearing with the Clerk of Court using the CM/ECF system
which will automatically send an e-mail notification of such filing to the parties or attorneys of record. I
have also on this day caused a copy of the pleading to be placed in the first-class United States mail, postage
prepaid, addressed to the recipients not participating in the CM/ECF system. All parties served are as
follows:

Via U.S. Mail

Bam Tech Solutions, Inc.
5805 State Bridge Road, Suite G208
Duluth, GA 30097

Janice Quinn, Managing Member
Bam Tech Solutions, Inc.
87 Mayson Ave. NE
Atlanta, GA 30307

Via CM/ECF

Will B. Geer
Rountree Leitman Kein & Geer LLC
Century Plaza I
2987 Clairmont Road, Suite 350
Atlanta, GA 30329

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305


Dated: April 18, 2023                                      /s/ Laura A. Grifka____________
                                                           Laura Grifka (GBN 312055)
                                                           MCMICHAEL TAYLOR GRAY, LLC
                                                           Attorney for Movant
                                                           3550 Engineering Drive, Suite 260
                                                           Peachtree Corners, GA 30092
                                                           Telephone: (404) 474-7149
                                                           Facsimile: (404) 745-8121
                                                           E-mail: lgrifka@mtglaw.com
                                                           MTG File No.: 23-000561-01
Case 23-53167-bem   Doc 7   Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document     Page 6 of 42




     EXHIBIT A
Case 23-53167-bem   Doc 7   Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document     Page 7 of 42
Case 23-53167-bem   Doc 7   Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document     Page 8 of 42
Case 23-53167-bem   Doc 7   Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document     Page 9 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 10 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 11 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 12 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 13 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 14 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 15 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 16 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 17 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 18 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 19 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 20 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 21 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 22 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 23 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 24 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 25 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 26 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 27 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 28 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 29 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 30 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 31 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 32 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 33 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 34 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 35 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 36 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 37 of 42
Case 23-53167-bem          Doc 7     Filed 04/18/23 Entered 04/18/23 16:15:39 Desc Main
                                    Document      Page 38 of 42 2022148181 DEED BOOK 30599 Pg               746




   Document drafted by and
   RECORDING REQUESTED BY:
   BSI Financial Services, Inc.
   7505 Irvine Center Drive
   Suite 200
   Irvine, CA 92618

                                             SPACE ABOVE TIIlS LINE FOR RECORDER'S USE

                                LIMITED POWER OF ATTORNEY
   The trusts identified on the attached Schedule A (the "Trusts"), by and through
   U.S. Bank National Association, a national banking association organized and existing under
   the laws o f the United States and having an office at 60 Livingston Avenue, EP-MN-WS3D,
   St Paul, M N 55107, not in its individual capacity but solely as Trustee ("Trustee"), hereby
   constitutes and appoints BSI Financial Services, Inc. ("Servicer"), and in its name, aforesaid
   Attorney-In-Fact, by and through any officer appointed by the Board o f Directors o f Servicer, to
   execute and acknowledge in writing or by facsimile stamp all documents customarily and
   reasonably necessary and appropriate for the tasks described in the items (1) through (12) below;
   provided however, that (a) the documents described below may only be executed and delivered
   by such Attorneys-In-Fact i f such documents are required or permitted under the tenns o f the
   related servicing agreements, (b) all actions taken by Servicer pursuant to this Limited Power o f
   Attorney must be in accordance with Federal, State and local laws and procedures, as appJicable
   and (c) no power is granted hereunder to take any action that would be either adverse to the
   interests o f or be in the name o f U.S. Bank National Association in its individual capacity. This
   Limited Power o f Attorney is being issued in connection with Servicer's responsibilities to
   service certain mortgage loans (the "Loans") held by the Trustee. These Loans are secured by
   collateral comprised o f mortgages, deeds o f trust, deeds to secure debt and other fonns o f
   security instruments (collectively the "Security Instruments") encumbering any and all real and
   personal property delineated therein (the "Property'') and the Notes secured thereby. Please refer
   to Schedule A attached hereto.

   1.   Demand, sue for, recover, collect and receive each and every sum o f money, debt, account
         and interest (which now is, or hereafter shall become due and payable) belonging to or
         claimed by the Trustee, and to use or take any lawful means for recovery by legal process
         or otherwise, including but not limited to the substitution o f trustee serving under a Deed o f
        Trust, the preparation and issuance o f statements of breach, notices o f default, and/or
        notices o f sale, accepting deeds in lieu o f foreclosure, evicting (to the extent allowed by
        federal, state or local laws) foreclosing on the properties under the Security Instruments by
        judicial or non-:judicial foreclosure, actions for temporary restraining orders, injunctions,
         appointments o f receiver, suits for waste, fraud and any and all other tort, contractual or
        verifications in support thereof, as may be necessary or advisable in any bankruptcy action,
        state or federal suit or any other action.

   2.   Execute and/or file such documents and take such other action as is proper and necessary to
        defend the Trustee in litigation and to resolve any litigation where the Servicer has an
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 39 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 40 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 41 of 42
Case 23-53167-bem   Doc 7    Filed 04/18/23 Entered 04/18/23 16:15:39   Desc Main
                            Document      Page 42 of 42
